                                Case 4:01-cr-40082-JPG                                                                             Document 158 Filed 06/29/11                                                             Page 1 of 3                                Page ID
    'AD 245D                    (Rev. 12107) Judgment in a Criminal Case for Revocations
                                Sheet J
                                                                                                                                             #178


                                                                                 UNITED STATES DISTRICT COURT
                                                                                                                                     Southern District of Illinois

                      UNITED STATES OF AMERICA                                                                                                                                  Judgment in a Criminal Case
                                                              v.                                                                                                                (For Revocation of Probation or Supervised Release)
                                         Richard C. Rentfro

                                                                                                                                                                                Case No. 4:01 CR40082-001-JPG
                                                                                                                                                                                USM No. 05369-025
                                                                                                                                                                                Judith A. Kuenneke, AFPD
                                                                                                                                                                                                             Defendant's Attorney
  THE DEFENDANT:
  ~ admitted guilt to violation of condition(s)                                                                                 as alleged below                                               ofthe term of supervision.
  o         was found in violation of condition(s)                                                                           _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
  The defendant is adjudicated guilty of these violations:


  Violation Number                                             Nature of Violation                                                                                                                                                      Violation Ended
  Statutory                                                         The defendant tested positive for marihuana                                                                                                                        04/05/2011
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, S',"a,f1ar       ,I"" "
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                         "'I;!II:!:,:;,I::'!II",, ,,,,,,,,II     }~~Ii!r:f"lcl",III, 1I9    1i!~I'tF  "jl~I'1I1'!"':llii~'[lIJ!!i!'I",
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                                                                                                                                                                                                                                            'Y ' i i ' ,i, '",i'Hi,i,lil:,nii''
            ..... "., I,                       . ' ,'!~,:!J!:!':, .. ,%,r :!' j,lI".!! ii:" ,,;I1                                        "" i'::lti,:!U nil);,. i!l,,!:!':,. "ii!il t'! !:,~!;: ,1;L .. ',;::!:,,;i; iF ~!i!," d!!:.:' :illi,i;:\ :,oU.•iliJIHLn!;:l' "<;:~!:i:ll.":/"} i, ','

  Standard # 11                                                     The defendant failed to notify probation of being questioned                                                                                                       01/07/2010
                                                                " ',,,,,',;,:;:!:)I,'I';I:: ,ti,:)i,j, 'i,ii,:l:,~:,,';!!II\I,lt'!':: ,::,i\li"~r\;· ";:!,!wrl!~l)W;" :                                                               TI!"'" '"' '!I'U' W'II'' "'I'I'~!I !lr~!
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                                                                                                                                        ".iti:'.!' "',:1,1:1 ,no]                                                                   ':i! il!il::;!;!illlll!ilillllllllilillli~jlillllitIMililli
         The defendant is sentenced as provided in pages 2 through _-:3=-_ of this judgment. The sentence is imposed pursuant to
  the Sentencing Reform Act of 1984.
  o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
            It is ordered that the defendant must notilY the United States attorney for this district within 30 days of any
  change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
  fully pa\d. 1f ordered to pay restitution, the defendant must notifY the court and United States attorney of material changes m
  economic circumstances.

  Last Four Digits of Defendant's Soc. Sec. No.: 0776                                                                                                                           06/28/2011

  Defendant's Year of Birth:                                                  1977

  City and State of Defendant's Residence:
  Umn, IL 62992
                                                                                                                                                                                J. Phil Gilbert                                                          District Judge
                                                                                                                                                                                                          Name and Title of Judge
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                                                     ADDITIONAL VIOLATIONS

                                                                                                               Violation
Violation Number              Nature of Violation                                                              Concluded
Special                       The defendant failed to call On-Site Drug Testing Program                        10/20/2010
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  DEFENDANT: Richard C. Rentfro
  CASE NUMBER: 4:01CR40082-001-JPG


                                                                    IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
12 months




       "    The court makes the following recommendations to the Bureau of Prisons:

That the defendant be placed in the Marion, IL facility




       o    The defendant is remanded to the custody of the United States Marshal.

       o The defendant shall surrender to the United States Marshal for this district:
            o     at   ________ 0                           a.m.     0     p.m.    on

            o     as notified by the United States Marshal.

       "    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            o     before 2 p.m. on
            ri/ as notified by the United States Marshal.
            o     as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                      to

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                                  By
                                                                                             DEPUTY UNITED STATES MARSHAL
